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                        UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF OHIO

                               EASTERN DIVISION


In re NATIONAL PRESCRIPTION OPIATE )      No. 1:17-md-2804
LITIGATION                         )
                                   )      Judge Dan A. Polster
                                   )
This Document Relates To:          )
                                   )
       ALL ACTIONS.                )
                                   )



                 PLAINTIFFS’ REQUEST FOR ENTRY OF DEFAULT




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        Pursuant to Fed. R. Civ. P. 55(a) (“Rule”), Plaintiffs County of Summit, Ohio; City of

Cleveland; and County of Cuyahoga, Ohio (collectively, “Plaintiffs”) respectfully request that this

Court instruct the Clerk of Court to either deem served or enter the default of Defendant Allergan

PLC f/k/a Actavis PLC and all of its U.S. subsidiaries that manufacture, market, sell, distribute or

monitor sales of opioids (collectively, “Allergan”) that have not already waived service.

        Rule 55(a) provides that “[w]hen a party against whom a judgment for affirmative relief is

sought has failed to plead or otherwise defend, and that failure is shown by affidavit or otherwise,

the clerk must enter the party’s default.” In this case, Allergan PLC and certain of its subsidiaries

have failed to grant requests to waive service, as shown by the record herein and by the attached

Declaration of Aelish M. Baig in Support of Plaintiffs’ Request for Entry of Default (“Decl.”), filed

concurrently herewith, which establish as follows:

        1.     On April 11, 2018, this Court “encouraged” Defendants to “avoid unnecessary

expenses associated with serving the summons and [ordered that], absent good cause, [they] shall

grant requests to waive service pursuant to Fed. R. Civ. P. 4(d)(1),” but suspended service on foreign

corporations. ECF No. 232 at 10.

        2.     On April 25, 2018, counsel for Defendants Allergan Finance, LLC f/k/a Actavis, Inc.

f/k/a Watson Pharmaceuticals, Inc. (“Allergan Finance, LLC”) and Allergan USA, Inc. noticed their

waiver of service requests. ECF No. 280. Allergan PLC, the foreign parent corporation, and its

other U.S. subsidiaries engaged in the opioid business, have to date not granted requests to waive

service of the complaint.

        3.     It is noted that Allergan PLC was the party that executed the sale agreement by which

Allergan’s generics business, Actavis, was sold to Teva for approximately $40 billion in cash and

shares in 2016. Decl., ¶5.



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        4.      Despite Plaintiffs’ numerous requests, the Allergan defendants have refused to

provide Plaintiffs with a list of all of Allergan PLC’s other U.S. subsidiaries that manufacture,

market, sell, distribute or monitor sales of opioids, nor will their counsel, Kirkland & Ellis LLP

(“Kirkland & Ellis”), accept service on behalf of those subsidiaries. Decl., ¶3.

        5.      On May 30, 2018, Plaintiffs filed a Second Amended Complaint (“SAC”) against

Defendants Allergan PLC f/k/a Actavis PLC and Allergan Finance, LLC, among others. See ECF

No. 521, ¶¶1, 44-46; see also ECF Nos. 508, 513. “Defendants” included these named entities, as

well as their “predecessors, successors, affiliates, subsidiaries, partnerships and divisions, to the

extent that they are engaged in the manufacture, promotion, distribution, sale and/or dispensing of

opioids.” ECF No. 521, ¶96.

        6.      On November 8, 2018, this Court held a telephonic status conference, at which time

this Court indicated that all entities engaged in the opioid business in the United States and related to

named defendants are part of this case. See ECF No. 1108. The Court further instructed counsel for

defendants to waive service of process. Decl., ¶2.

        7.      On November 9, 2018, this Court lifted “the suspension of service upon any foreign

entity that is a parent or subsidiary of any corporate defendant in the MDL to the extent that the

MDL Defendant must accept service for the foreign entity.” ECF No. 1108 at 1-2.

        8.      On November 19, 2018, the undersigned counsel sent counsel for the Allergan

entities, Kirkland & Ellis, a waiver of service for Allergan PLC and all of its U.S. subsidiaries that

manufacture, market, sell, distribute or monitor suspicious sales of opioids in the United States.

Decl., ¶3 & Ex. 1. Counsel for Allergan refused to sign the waiver of service and has further refused

to identify all such subsidiary entities by name despite numerous requests by Plaintiffs to do so.

        9.      Throughout the course of discovery, Allergan initially took the position that only

Allergan Finance LLC – an entity with very few, if any, employees – would participate in discovery.

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It was only as a result of a series of many letter motions brought before Special Master Cohen over a

period of months that Allergan finally broadened its discovery responses to include Allergan PLC

and its U.S. subsidiaries. However, despite repeated requests, Allergan has refused to inform

Plaintiffs as to which Allergan entities those are, i.e., which of the Allergan PLC subsidiaries in the

United States have manufactured, marketed, sold, distributed or monitored sales of opioids in the

relevant time frame. Plaintiffs took a Rule 30(b)(6) deposition on corporate structure, and that

witness was unable to inform Plaintiffs as to all of the Allergan PLC subsidiaries that have engaged

in the opioid business in the United States.1 Moreover, the Rule 30(b)(6) witness on corporate

structure stated that the parent company did not keep the $40 billion it received from the sale of the

generics company.2 Because Plaintiffs do not have complete information as to all of Allergan PLC’s

subsidiaries engaged in the opioids business in the United States during the relevant time frame, they

requested waiver of service generally for Allergan PLC and all of its U.S. subsidiaries that have

manufactured, marketed, sold, distributed or monitored sales of opioids in the United States. Decl.,

Ex. 1. Allergan has not signed the waiver, arguing instead that Allergan PLC’s subsidiaries were not

all expressly named in the SAC (although they were all generally named). Thus, Allergan has still

not accepted service for Allergan PLC or for its U.S. subsidiaries engaged in the opioid business

during the relevant time frame.

        10.    It is however, noted that Allergan PLC has already appeared in this case. For

example, on January 9, 2019, counsel for Allergan Finance, LLC and Allergan USA, Inc. appeared

for and responded to Plaintiffs’ Third Set of Interrogatories on behalf of Allergan Finance, LLC and

Allergan PLC. Decl., ¶5 & Ex. 2. Thus, Allergan PLC is subject to the personal jurisdiction of this

Court. See M&C Corp. v. Erwin Behr GmbH & Co., KG, 508 F. App’x 498 (6th Cir. 2012) (foreign

1
    E.g., Decl., Ex. 3 (Kaufhold Depo. Tr.) at 35:19-23.
2
    Id. at 94:18-98:14.

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nonparties waived their lack of personal jurisdiction defense when their attorneys entered general

appearances with the district court on their behalf). Moreover, in City of Chicago v. Purdue Pharma

L.P., et al., No. 1:14-cv-04361 (N.D. Ill.) (“City of Chicago”), the Court rejected Allergan PLC’s

argument that the Court lacked personal jurisdiction. Id., ECF No. 471 at 12-13. City of Chicago

has been transferred to this MDL. Id., ECF No. 662; see City of Chicago v. Purdue Pharma, et al.,

No. 1:17-op-45169-DAP (N.D. Ohio).3

        11.    Allergan PLC is neither an infant nor an incompetent person. Decl., ¶6.

        12.    Allergan PLC and its U.S. subsidiaries engaged in the opioid business during the

relevant period have failed to sign a waiver of service. On January 11, 2019, Plaintiffs informed

Allergan they intended to seek default judgment and days later the Company filed a motion for lack

of personal jurisdiction. ECF No. 1258.




3
   The court in State of Ohio, ex rel. Mike DeWine v. Purdue Pharma. L.P., et al., No. 17 CI 261,
2008 WL 4080052, at *7 (Ct. Com. Pl., Ross Cty. Aug. 22, 2018), has also rejected Allergan PLC’s
argument that the Court lacked personal jurisdiction:

                This Court finds that the Plaintiff has established a prima facia case for
        jurisdiction over Allergan PLC under the long-arm statute, Section 2307.382(A)
        ORC. Further, this Court finds that the Plaintiff has established by the requisite
        degree of proof that the defendant, Allergan PLC, acted and caused consequences in
        the state of Ohio. This Defendant’s actions and the consequences therefrom alleged
        by the Plaintiff create a sufficient substantial connection with Ohio and allow the
        assertion of personal jurisdiction over this Defendant to be reasonable.

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        WHEREFORE, all Allergan entities engaged in the opioid business in the United States

during the relevant time frame should be deemed served and part of this action for purposes of

litigation, judgment and settlement; Plaintiffs respectfully request that this Court instruct the Clerk of

this Court to either deem served or enter default against Allergan PLC and all of its U.S. subsidiaries

that manufacture, market, sell, distribute or monitor sales of opioids (with the exception of Allergan

Finance LLC and Allergan USA, Inc., the only Allergan entities that have accepted service to date).

DATED: January 25, 2019                            ROBBINS GELLER RUDMAN
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on January 25, 2019, the foregoing was filed

electronically with the Clerk of Court using the Court’s CM/ECF system, and will be served via the

Court’s CM/ECF filing system on all attorneys of record.

                                                  s/ Aelish M. Baig
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